        EXHIBIT A13




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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   IN RE:                                                   MDL NO. 2460
   NIASPAN ANTITRUST LITIGATION

  Tl US DOCUMENT RELATES TO:                               I MASTER..FILE NO. 13-MD-2460
  ALL ACTIONS


        [JtMtf OQBDJ CORRECTED SEVENTH AMENDED SCHEDULING ORDER

         IT IS ORDERED that the deadlines in the above-caption action are AMENDED as

  follows:
                                                             --·----------------·-- - -
    Previous Date           Due Date                   Event
   t - - - - - - - - - + - - - - - - - - t - - - - - - - - - - - - - - - ----- ---
    March 30, 2018          March 30, 2018             Close of fact discovery - all discovery requests
                                                       and subpoenas must be served to be answerable
                                                       by this date, except as noted below.
    April 6, 2018         1 April6,20I8                Completion of depositions of designees of Lupin
                          I
                                                        Pharmaceuticals, Inc., City of Providence, and all
                                                       other depositions as addressed at the March 29,
                                                       2018, status conference.
                                                       Giant Eagle files report regarding data production I
                                                       by McKesson Corporation.
   April-l-2,-2-0_1_8_ ___,_A_p_r-il--12:-2-0-l8---+--Co~plet-io_n_o_f_d_e_p_os-it-io_n_of_d_e_s-ig_n_e_e_o_f___ --
                            1



                                                       McKesson Corporation.
   ~------ ---+-----------+---------------------<
     April 17, 2018             April 17, 2018         Completion of depositions of designees of entities
                                                       addressed in this Court's Order dated March 20.
   f-------- ----t-· --------+-                                                        -
     May 31, 2018               May 31, 2018           Plaintiffs serve opening expert reports.
                                                                                          --------;
     June 18, 2018              June 18, 2018          Plaintiffs provide defendants with demands.
     July 16, 2018              July 16, 2018          The parties file ajoint settlement report.
                  ------+-· --                    -+------                                 -------
     August 27, 2018            August 27, 2018    1
                                                       Defendants serve ?pposition expert reports.
     October 22,           October 22,           Plaintiffs serve rebuttal expert reports.
     2018                  2018
   ;-necember 19-,---+-D-e-c-em--be_r_1_9_,--1-Plainti-ff:_s_fi_le-class certification motions (along
     2018
   ,__
                           2018                  with previously served expert reports).
     December 19,
     2018

   IL _ _ __




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                                                                     ---                  ---------,
      I Previous Date                Due Date            Event
      --
                                                         Amended Scheduling Order (Dkt # 534) remains
                                                         in place.
                                                                 -         --
          February 25, 2019          February 25,        Defendants file opposition to class
                                                                                         ,, certification
                                     2019                motions (along with previous} y served expert
                                                         reports). Defendants file any Daubert motions
                                                         related to experts proffered by Plaintiffs in



                                                                                                            I
                                                         support of class certification.
          March 25, 2019             March 25, 2019     I Plaintiffs ftle replies to class certification
                                                          motions.
                                                                                                               I
      1

                                                          Plaintiffs file oppositions to any Daubert motions
                                                          filed by Defendants relating t o Plaintiffs' class
                                                          certification experts. 1

                                                          Plaintiffs file any Daubert motions related to
                                                          experts proffered by Defendants in opposition to
                                                          class certification.
          n/a                        April 8, 2019        Defendants file oppositions to any Daubert
                                                          motions filed by Plaintiffs relating to defense
                                                          class certification experts.
                                             ---+---
          TBD                   I    TBD                  Hearing on class certification motions.
                                                     ---+--
          TBD                        TBD                    Telephonic conference with Judge DuBois to
                                                            address summary judgment briefing and further
      .__  ______ _______ ___ __._                     __._
                                                            scheduling
                                                                     - . - - --- -----------'



                                                          BY THE COURT:



                                                          Du,ois, Jan E., J.
                                                                 \\\\Lt\\'B




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      No party shall file a reply in support of a Daubert motion relating to class certification experts.




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